        CASE 0:11-cv-01999-JNE-SER Doc. 68 Filed 03/05/12 Page 1 of 6




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MINNESOTA

JANE DOE, et al.,                     )
                                      )
                 Plaintiffs,          )
                                      )
and                                   )
                                      )
UNITED STATES OF AMERICA,             )
                                      )
                 Plaintiff-Intervenor )
                                      )
v.                                    )    NO. 11-cv-01999-JNE-SER
                                      )
ANOKA-HENNEPIN SCHOOL                 )
DISTRICT NO. 11, et al.,              )
                                      )
                                      )
                 Defendant.           )
                                      )
and                                   )
                                       )

E.R., by her next friend and parent,  )    NO. 11-cv-02282-JNE-SER
Quana Hollie;                         )
                                      )
                 Plaintiff,           )
                                      )
and                                   )
                                      )
UNITED STATES OF AMERICA,             )
                                      )
                 Plaintiff-Intervenor )
                                      )
vs.                                   )
                                      )
ANOKA-HENNEPIN SCHOOL                 )
DISTRICT NO. 11, et al.,              )
                                      )
                 Defendants.          )
        CASE 0:11-cv-01999-JNE-SER Doc. 68 Filed 03/05/12 Page 2 of 6




        JOINT MOTION TO APPROVE PROPOSED CONSENT DECREE

       Plaintiffs JANE DOE, et al., and E.R., Defendants, the Anoka-Hennepin School

District, its School Board, and certain officials named in the complaints, and the United

States of America (“United States”), applicant for intervention, by their attorneys, jointly

move the Court for an order approving the proposed consent decree filed concurrently

with this Motion. The Motion is based upon the supporting memoranda of law, the entire

file, and proceedings herein.



Respectfully submitted,



                                (Signature Pages to Follow)
        CASE 0:11-cv-01999-JNE-SER Doc. 68 Filed 03/05/12 Page 3 of 6




Dated: March 5, 2012

FOR THE UNITED STATES OF AMERICA:

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        CASE 0:11-cv-01999-JNE-SER Doc. 68 Filed 03/05/12 Page 4 of 6




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                                       And Jason Backes
       CASE 0:11-cv-01999-JNE-SER Doc. 68 Filed 03/05/12 Page 5 of 6




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Dated: March 5, 2012                  GREENE ESPEL P.L.L.P.

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